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                          IN THE UNITED STATES DISTRICT COURT FOR THE
                                  EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division

  AMRIK HENDIAZAD, et al.,                            )
                                                      )
            Plaintiffs,                               )
                                                      )
      v.                                              )   1: l 9-cv-98 (LMB/JFA)
                                                      )
  OCWEN LOAN SERVICING, LLC, et al.,                  )
                                                      )
            Defendants.                               )


                                    MEMORANDUM OPINION

            Before the Court is defendants' Ocwen Loan Servicing, LLC ("Ocwen") and Mortgage

  Electronic Registration Systems, Inc. ("MERS") Motion to Dismiss [Dkt. No. 5], in which

  they argue that plaintiffs' Amrik and Seemin Hendiazad ("plaintiffs") Complaint should be

  dismissed as an impermissible "show-me-the-note" claim. Plaintiffs, proceeding pro se, have

  responded to defendants' Motion. Finding that oral argument would not further the decisional

  process, the defendants' Motion to Dismiss will be granted without oral argument for the

  reasons discussed below.

                                         I. BACKGROUND

           In this Complaint, plaintiffs allege that defendants MERS and Ocwen have attempted to

 unlawfully foreclose on their property by fraudulently transferring the Note and Deed of Trust,

 failing to provide them with a notice of acceleration, and lacking the authority to foreclose at all.

           The Complaint alleges that on April 19, 2010, plaintiffs obtained a home mortgage loan

 from U.S. Mortgage Finance Corp. for $682,411 through a promissory Note ("Note") secured by

 real property located at 35376 Glencoe Court, Round Hill, Loudoun County, Virginia

 ("Property"). Compl. [Dkt. No. 1-1] ,r,r 4-5, Exs. A, B. This agreement was evidenced by a Deed
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 of Trust ("Deed"), which named MERS as the Beneficiary and Palma Collins as the Trustee. Id.

 ,r 6, Ex. A.
         On June 18, 2014, MERS assigned its interest in the Deed to Ocwen. Id. Ex. D. On

 October 14, 2016, Ocwen appointed Surety Trustees, LLC as substitute trustee. Id. Ex. C. On

 November 30, 2017, Ocwen removed Surety Trustees, LLC and appointed Equity Trustees, LLC

 as substitute trustee. Defs.' Mem. in Supp. of Mot. to Dismiss Third Am. CompI. 1 [Dkt. No. 6]

 ("Mem.") 2-3, Ex. 1.

         Defendants allege that plaintiffs have defaulted on the loan. Id. at 3. On October 25,

 2018, plaintiffs received a Notice of Foreclosure from BWW Law Group, allegedly acting on

 behalf of Equity Trustees, informing them that the Property would be sold on November 13,

 2018. Compl. ,r 30 (citing Ex. D). Although plaintiffs are unsure whether the sale occurred,

 defendants allege that Equity Trustees voluntarily cancelled the sale. Mem. 3.

         Plaintiffs filed this action in the Circuit Court of Loudoun County on December 20, 2018.

 Dkt. No. 1-1. Defendants removed the action to this court on January 24, 2019. Dkt. No. 1. In

 essence, plaintiffs argue that Ocwen cannot foreclose because it has not presented plaintiffs with

 the original Note and because the assignment by MERS of its interest in the Deed to Ocwen was

 fraudulent. Specifically, plaintiffs assert five causes of action: (1) trespass guare clausum fregit,

 (2) trover, (3) covenant, (4) declaratory judgment, and (5) breach of contract. Plaintiffs also seek

 injunctive relief, to include a temporary restraining order ("TRO"). Specifically, Count I alleges

 that defendants have trespassed on plaintiffs' Property because defendants do not have any


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  Plaintiffs object to defendants' allegation that their Complaint is their Third Amended
 Complaint, stating that they have only filed the original Complaint. Pis.' Resp. in Opp'n to
 Defs.' Mot. to Dismiss Original Compl. [Dkt. No. 9] ("Opp'n") 5. The Court is only aware of the
 original Complaint, filed in state court on December 20, 2018 and attached as Exhibit A to the
 Notice of Removal. Dkt. No. 1-1.

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 evidence of ownership of the loan. Compl. ,r,r 46-50. Count II alleges that defendants are not

 entitled to seek title to the Property because they have received full payment of the mortgage

 from the mortgage insurance carrier. Id. ,r,r 51-54. Count III asks the Court to grant declaratory

 relief to enforce the covenant that only the original lender or a valid assignee be allowed to

 enforce the Note and Deed. Id. ,r,r 55-57. Count IV seeks a declaration that Ocwen does not have

 standing to conduct a foreclosure sale on the Property and that the mortgage debt has been paid.

 Id.   ,r,r 58-63. Count V alleges that Ocwen breached the Note and Deed when it failed to give
 plaintiffs notice of acceleration, a change in loan servicer, and foreclosure. Id. ,r 64. Count VI

 requests injunctive relief, including a TRO forbidding Ocwen from foreclosing on the Property.

 Id. ,r,r 65-68. In addition to the requested declarations, plaintiffs seek damages in the amount of

 $888,0000, plus $2,664,000 treble damages if defendants are found to have made false claims

 against the Property. Id.   ,r,r 69-75.
           Defendants have moved to dismiss [Dkt. No. 5], arguing that under Virginia's non-

 judicial foreclosure laws, they cannot be compelled to produce documentation authorizing

 foreclosure on the Property. Mem. 2. Additionally, because the foreclosure was voluntarily

 cancelled, plaintiffs have yet to suffer harm. Id. Plaintiffs have responded, although not in a

 timely fashion, 2 and have also represented that they will move for leave to file a first amended

 complaint "as soon as [they] are done with this Response." Pis.' Resp. in Opp'n to Defs.' Mot. to

 Dismiss Original Compl. [Dkt. No. 9] ("Opp'n") 11. In a separate letter to the Court, plaintiffs

 allege that the Note has been securitized and offered on the market and they demand "full

 disclosure." Notice and Demand [Dkt. No. 1O].



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  Defendants moved to dismiss on February 8, 2019. Dkt. No. 5. Plaintiffs' Opposition was due
 on March 1, 2019, but was not filed until March 13, 2019. Dkt. No. 9.

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                                          II. DISCUSSION

     A. Standard of Review

        Federal Rule of Civil Procedure 12(b)(6) provides that a complaint should be dismissed if

 it fails to state a claim upon which relief can be granted. "To survive a motion to dismiss, a

 complaint must contain sufficient factual matter, accepted as true, to 'state a claim to relief that is

 plausible on its face."' Ashcroft v. Igbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

 Twombly, 550 U.S. 544, 570 (2007)). Pleadings filed by a pro se party must be "liberally

 construed" and will not be held to the same standards as those filed by lawyers. Erickson v.

 Pardus, 551 U.S. 89, 94 (2007) (internal quotation marks and citations omitted). Nevertheless,

 whether a complaint states a claim on which relief may be granted is determined by "the familiar

 standard for a motion to dismiss under Fed. R. Civ. P. 12(b)(6)." Sumner v. Tucker, 9 F. Supp.

 2d 641,642 (E.D. Va. 1998). The Court must "assume that the facts alleged in the complaint are

 true and draw all reasonable inferences in the plaintiffs favor," Burbach Broad. Co. of Del. v.

 Elkins Radio Corp., 278 F.3d 401,406 (4th Cir. 2002), but only to the extent that those

 allegations pertain to facts rather than to legal conclusions, Igbal, 556 U.S. at 678. Plausibility

 requires "more than a sheer possibility that a defendant has acted unlawfully"; instead, the

 plaintiff must plead "factual content that allows the court to draw the reasonable inference that

 the defendant is liable for the misconduct alleged." Id.

    B. Analysis

        To the extent that plaintiffs are claiming defendants must "bring forward the original note

 for[] inspection" and that the law "makes the production of the note mandatory," Compl. ,r 27,

 they are making a "show-me-the-note" claim, which Virginia "courts have roundly rejected" as

 "plainly contrary to Virginia's non-judicial foreclosure laws." Davis v. White, No. 3:13cv780,

 2014 WL 1604270, at *10 (E.D. Va. Apr. 21, 2014) (internal quotation marks omitted) (citing

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 Hien Pham v. Bank ofN.Y., 856 F. Supp. 2d 804, 810 (E.D. Va. 2012)). In Virginia, a trustee

 may "foreclose on a loan in default, even if the original note cannot be found, without first

 seeking a court order." Hien Pham, 856 F. Supp. 2d at 810 (citing Horvath v. Bank ofN.Y.,

 N.A., 641 F.3d 617, 623 n.3 (4th Cir. 2011)). A noteholder is not required to come to court to

 prove its authority to foreclose because if this were permissible, borrowers would "compel

 judicial intervention in any foreclosure proceeding where a deed of trust has changed hands or a

 substitute trustee has been appointed." Id. Therefore, defendants cannot be forced to produce the

 Note.

         In addition, plaintiffs lack standing to contest the assignments of the Deed, the

 appointment of substitute trustees, or the securitization of the loan because they are not parties to

 those documents. In Virginia, to sue on a contract one must be a party to, or a beneficiary of, the

 contract. See Mich. Mut. Ins. Co. v. Smoot, 129 F. Supp. 2d 912,920 (E.D. Va. 2000). A

 homeowner cannot attack the assignment of a deed of trust because it is neither a party to that

 assignment nor an intended beneficiary. See Wolf v. Fed. Nat'l Mortg. Ass'n, 512 F. App'x 336,

 342 (4th Cir. 2013); see also Hardnett v. M&T Bank, 204 F. Supp. 3d 851,858 (E.D. Va. 2016)

 (finding homeowners lacked standing to challenge assignment of the deed of trust or

 securitization of the loan because they were neither parties to, nor intended beneficiaries of, the

 assignment or securitization agreement). 3 Homeowners also lack standing to challenge the

 appointment of substitute trustees for the same reasons. See Wilson-McClaim v. Specialized




 3
   "Further, regardless of a lack of standing, courts have rejected the argument that securitization
 of a loan renders the loan unenforceable." Id. (citations omitted). To the extent plaintiffs
 challenge the securitization of the loan in their Notice and Demand [Dkt. No. 1O], this claim also
 fails.

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 Loan Servicing, LLC, No. 3:15cv541, 2016 U.S. Dist. LEXIS 135134, at *12 (E.D. Va. Sept. 29,

 2016).

          Moreover, MERS does have the authority to assign the Deed. The terms of the Deed

 itself state that MERS is its beneficiary and is "acting solely as a nominee for Lender and

 Lender's successors and assigns." Comp!. Ex. A. This language is sufficient to allow MERS to

 assign the Deed. See Mabutol v. Fed. Home Loan Mortg. Corp., No. 2:17cv406, 2013 WL

 1287709, at *4--5 (E.D. Va. Mar. 25, 2013) (citation omitted) (finding that identical language

 authorized MERS, as the lender's nominee and beneficiary of the deed of trust, to assign its

 right, title, and interest in the deed of trust); Hien Pham, 856 F. Supp. at 811-12 (citations

 omitted). Accordingly, plaintiffs' overall claims challenging these assignments and defendants'

 authority to foreclose will be dismissed on these basic principles. In addition, each count fails for

 the reasons discussed below.

          1. Count I - Trespass

          Plaintiffs claim defendants have trespassed on their Property by "demanding payment of

 a debt for which they are strangers to the transaction and not lawfully entitled to payment of

 money or property [sic]." Opp'n 8. Trespass guare clausum fregit is a cause of action addressing

 a person's unlawful entry on another person's enclosed land. See Black's Law Dictionary (10th

 ed. 2014). Plaintiffs' arguments that defendants have trespassed because Ocwen cannot produce

 the original Note or because the assignment from MERS to Ocwen is void are meritless. Ocwen

 has the right to foreclose as a matter of law and is not a trespasser. Therefore, Count I will be

 dismissed.

          2. Count II - Trover

          Plaintiffs claim that defendants cannot foreclose because they could have received

 payment from an insurance provider upon plaintiffs' default. Trover is a common law claim for

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 the recovery of damages for the conversion of personal property. See Black's Law Dictionary

 (10th ed. 2014). "It is unclear how an action in trover applies to any of the facts alleged by

 Plaintiffs." Mem. 8. Plaintiffs' claim that the availability of mortgage insurance payments

 excuses their obligation of repayment is baseless. See Ruggia v. Wash. Mut., 719 F. Supp. 2d

 642,647 (E.D. Va. 2010) ("[Plaintiff] provides no factual or legal basis, and the Court finds

 none, to support his contention that because [plaintiffs] default triggered insurance for any

 losses caused by that default ... he is discharged from the promissory notes and the Property is

 released from the deeds of trust." (first and second alterations in original) (citing Horvarth v.

 Bank ofN.Y., No. 1:09cvl 129, 2010 WL 538039, at *2 (E.D. Va. Jan. 29, 2010))), affd, 442 F.

 App'x 816 (4th Cir. 2011). Therefore, Count II will be dismissed.

        3. Counts III-IV - Declaratory Relief

        In Counts III and IV, plaintiffs ask the Court to declare that only the original lender or a

 valid assignee be allowed to enforce the Note and Deed, that defendants do not have standing to

 foreclose on the Property, and that the mortgage debt has been paid. Plaintiffs are not entitled to

 declaratory relief because, as discussed, they lack standing to challenge Ocwen' s status as a

 lawful assignee and they have not alleged facts to support a finding that the loan has been paid in

 full or that the Deed should be declared void.

        Furthermore, because the foreclosure sale has not actually occurred, plaintiffs have yet to

 be harmed and are also not entitled to declaratory relief on that basis. See Johnson v.

 Countrywide Home Loans, Inc., No. 2:15cv513, 2016 WL 7042944, at *5 (E.D. Va. Jan. 26,

 2016) (dismissing a claim for declaratory judgment because the foreclosure sale was voluntarily

 cancelled resulting in "no actual controversy of sufficient immediacy that warrants Plaintiffs

 [sic] requested relief."). These claims are also duplicative of plaintiffs' claims for breach of

 contract, trover, and trespass. Therefore, Counts III and IV will be dismissed.

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        4. Count V - Breach of Contract

         Plaintiffs allege that Ocwen breached the Note and Deed by failing to provide notice that

 it became the loan servicer, notice of acceleration, and notice of the foreclosure sale, and by

 failing to make reasonable efforts to arrange a face-to-face meeting with plaintiffs before

 commencing foreclosure proceedings.

        "A deed of trust is construed as a contract under Virginia law." Mathews v. PHH Mortg.

 ~      283 Va. 723, 733 (2012). The elements of breach of contract in Virginia are: "(1) a legally

 enforceable obligation of a defendant to a plaintiff; (2) the defendant's violation or breach of that

 obligation; and (3) injury or damage to the plaintiff caused by the breach of obligation." Filak v.

 George, 267 Va. 612, 619 (2004).

        Although plaintiffs allege that Ocwen breached paragraphs 10 and 11 of the Note when it

 failed to provide notice of acceleration and 30 days in which to cure a default, Compl. ,r 64(A),

 the Note attached to their Complaint ends at paragraph 9, see id. Ex. B. Therefore, defendant

 could not have breached the Note.

        Plaintiffs next allege that Ocwen breached paragraph 20 of the Deed by failing to give

 notice that it had become the loan servicer and paragraph 22 by failing to give notice of default,

 acceleration, right to reinstate, and foreclosure. Compl. ,r 64(B). Contrary to plaintiffs'

 allegations, paragraph 20 of the Deed does permit the lender to remove the trustee and appoint a

 successor trustee and does not require that notice be given to the borrower. See id. Ex. A. ,r 20.

 Therefore, Ocwen has not breached that paragraph and could not have breached paragraph 22 of

 the Note, which is titled "Riders to this Security Instrument" and does not discuss notices. See id.

 ,r 22. Moreover, the record shows that Ocwen complied with the Deed by informing plaintiffs
 through a letter that the loan was in default and that they had a right to reinstate. See Mem. Ex. 2



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 at 2 ("A borrower has the right to reinstate the loan after acceleration ..."). 4 Paragraph 18 of the

 Deed does state that if the lender invokes the power of sale, either the lender or trustee shall give

 notice of sale to the borrower. See Compl. Ex. A. Ocwen complied with this provision,

 evidenced by the Notice of Foreclosure Sale attached to the Complaint. See id. Ex. E. To the

 extent that the Deed incorporates Housing and Urban Development ("HUD") regulations, such

 as the requirement to make a reasonable effort to have a face-to-face meeting with a borrower

 before foreclosing, Ocwen complied by sending plaintiffs a letter informing them of their right to

 have a face-to-face meeting and providing contact information for plaintiffs to request said

 meeting. See Mem. Ex. 3. 5 As the record shows, at each stage of the foreclosure proceedings,

 Ocwen gave plaintiffs adequate notice.

         In addition to failing to allege any breach of contract, plaintiffs' breach of contract claim

 will be dismissed because the foreclosure has not occurred, meaning that plaintiffs have suffered

 no damages. See Jackson v. Ocwen Loan Servicing, LLC, No. 3:15cv238, 2016 WL 1337263, at

 *9 (E.D. Va. Mar. 31, 2016) (citation omitted) (dismissing breach of contract claim based on

 alleged lack of 30-day cure notice when no foreclosure occurred). Plaintiffs respond that they

 "suffered a loss of[] credit standing and the right to reinstate [the] mortgage," loss of equity in

 the home, and "severe emotional pain, stress, and discomfort" because of defendant's breach.

 Compl. ,r 64. These arguments have no merit. Ocwen's alleged failure to provide adequate

 notices would not be the cause of any decrease in plaintiffs' credit score or equity; that damage

 would be caused by the default on the loan itself. Moreover, plaintiffs have not lost their right to


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   The Court may take notice of this letter without converting the motion to one for summary
 judgment as the exhibit is not in question and is central to plaintiffs' claims. See, e.g., Gasner v.
 Cty. Of Dinwiddie, 162 F.R.D. 280,282 (E.D. Va. 1995).
 5
   Tracking information shows that the letter was delivered and signed for by an individual
 residing at the plaintiffs' Property. See id. Ex. 4.

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 reinstate, but "continue to retain the right to reinstate the Loan." Mem. 13. Finally, damages for

  emotional distress are not typically awarded for breach of contract claims. See Beaty v. Manor

  Care, Inc., No. 02-1720-A, 2003 WL 24902409, at *7 (E.D. Va. Feb. 10, 2003) ("It is generally

 held that damages for emotional distress are not recoverable in an action for breach of contract,

  absent proof of physical injury or wanton or willful conduct amounting to a separate tort.").

 There are no special circumstances here that would support an award of damages for emotional

 distress. Accordingly, Count V will be dismissed for failure to allege a breach of contract and

 failure to allege plausible damages.

         5. Count VI - Injunctive Relief

         Plaintiffs seek a TRO prohibiting Ocwen from foreclosing upon the Property. Compl.

 ,r 66. Claims for a TRO and preliminary injunction ("PI") are governed by the same four-part
 test, which requires that a claimant show "(l) he is likely to succeed on the merits; (2) he is

 likely to suffer irreparable harm in the absence of preliminary relief; (3) the balance of equities

 tips in his favor; and (4) an injunction is in the public interest." Granados v. Bank of Am., N.A.,

 No. 1:15cv752, 2015 WL 4994534, at *6 (E.D. Va. Aug. 19, 2015) (quoting The Real Truth

 About Obama, Inc. v. Fed. Election Comm'n 575 F.3d 342, 34~7 (4th Cir. 2009), vacated on

 other grounds, 559 U.S. 1089 (2010)). The threshold requirement for this test is that "the plaintiff

 has made a strong showing that he is likely to succeed on the merits of his claim." Id. (internal

 quotation marks and citations omitted). The burden rests on the plaintiff to make this showing

 and to show that he is likely to be "irreparably harmed absent injunctive relief." Id. (internal

 quotation marks and citation omitted).

         Plaintiffs fail to satisfy these requirements. As discussed above, plaintiffs' claims are, at

 their core, an impermissible show-me-the-note claim and cannot succeed on the merits.

 Furthermore, because foreclosure was cancelled, plaintiffs cannot show a threat of imminent

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 irreparable harm. See Granados, 2015 WL 4994534, at *6 (dismissing TRO and PI claims

 because "[d]efendants have not sought foreclosure of the Property, and Plaintiffs assertion that

 Defendants 'may intend' to foreclose is too speculative for the Court to consider." (citation

 omitted)). Accordingly, plaintiffs cannot show grounds for granting a TRO and Count VI will be

 dismissed.

                                       III. CONCLUSION

        For the reasons stated above, defendants' Motion to Dismiss [Dkt. No. 5] will be granted

 and plaintiffs' Complaint dismissed by an appropriate Order to be issued with this Memorandum

 Opinion.
                     i.J~
        Entered this _J_ day of April, 2019.


 Alexandria, Virginia
                                                                           Isl~
                                                           Leonie M. Brinkema
                                                           United States District Judge




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